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                                 IN THE UNITED STATES DISTRICT COURT

                                     EASTERN DISTRICT OF ARKANSAS

                                           UTILE ROCK DIVISION



ARTHUR CARSON,
                                                                             JAME
PLAINTIFF,                                                                   By:    \:} u?h"~'f •"'''1'61   DEP CLERK

vs.                                                        CIVIL CASE NO.

STEVE LANDERS KIA, AND                                                   ·1/-.I!e .;~7S-c5tJJLU~
RUSSELL COMSTOCK ET AL.,

DEFENDANTS.



                      COMPLAINT FOR DECLARATORY JUDGMENT AND JURY TRIAL



 Comes Now the Plaintiff, Arthur Carson, pursuant to the Fair Credit Reporting Act, 15 U.S.C. 1681n,

And the Equal Credit Opportunity Act, 15 U.S.C. 1661.L
                                                                  This case assigned to District Ju9gev"'4.frf7Z<' ..-
                                                                  a:id to Magistrate Judge       l:so' 9-\ uaq
                                                  PARTIES:

1). Plaintiff, Arthur Carson, 2000 Rice Street, Little Rock, AR 72202;

2). Defendant, Steve Landers Kia, 4600 S. University Ave., Little Rock, AR 72210;

3). Defendant, Russell Comstock, 4600 S. University Ave., Little Rock, AR 72210;



                                        PRELIMINARY STATEMENT:

 The Defendants made more than six Unauthorized Credit Inquiries onto Plaintiff's Credit without

His permission, as Retaliation, when Plaintiff truncated Defendant's Comstock sales blitz.



                                                     (1)
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1). This case concerns the Defendant's Steve Landers Kia, and its Sales, Russell Comstock, whom

Willful failure to follow Federal Laws designed to, among other things, Protect Consumers from

The Unlawful accessing of Consumer's sensitive Personal Information; and

2). Defendants failure to provide adverse action notice(s), as per 15 U.S.C. 1691, Sec. 701 (d)(6) of

The Equal Credit Opportunity Act.

3). Defendants failed to provide the ranges of possible credit scores under the credit model used ,

1681g(f)(l)(B), FRCRA;

4). Defendants failed to provide key factors that adversely affected the credit score of Plaintiff in the

Credit model used, 1681(f)(l) ( C ), FRCA;

5). Defendants failed to provide the date on which the c~edit score or denial was created, 1681M(f)-

(1) (D), FCRA; and

6). By not providing the names of the Person(s) or entity that provided the credit score or credit

Profile upon which the credit score was created, 1681m (f)(l)(E) .

7). Defendants knowingly and intentionally committed acts in conscious disregard for Plaintiff's

Rights, and willfully failed to comply with FCRA 15 U.S.C. 168lk.



                                        JURISDICTION AND VENUE:

This Court has Federal Question Jurisdiction over Plaintiff's FCRA Claims, pursuant to 28 U.S.C.-

1331.



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                                          STATEMENT OF CLAIMS:

1). On March 8, 2018, Plaintiff, hereinafter, "Carson", and His Co/applicant Jewellean Moore,

Went to Steve Landers Kia, seeking to trade a 2005 Saturn Ion for a 2016 Kia Sportage, as

Advertised online. In that Carson had a Pre-approved Auto loan from Capital One, addressed to

Defendants, see attached,( Exhibit# 1).

 The Salesman, Russell Comstock, were unable to produce the Kia Sportage, and informed Carson

He had a Nissan SUV, and requested Social Security Numbers from Carson and His Co/Applicant.

After forty-five minutes, Carson informed Russell Comstock, they had to leave, but If He could get

Capital One's approval, he would consider the Nissan. About an Hour later, Comstock, texted Carson

And informed Him Capital One would not approve the loan without cash, at this juncture Carson

Ceased communication and assumed the process was over.

 As apparent reprisal, the Defendants, knowingly, and intentionally made a fusillade of more

Hard credit checks with various Companies without Carson's authorization. Such actions caused

Substantial harm to Carson's credit score, which dropped 86 points from Defendants actions, (from-

619-533, Experian & Equifax). Defendants actions were done after Carson texted them to advised

He could get a deal somewhere else, see (Exhibit# 2 "text to Russell Comstock).

 Carson were never sent any adverse letters from any of Defendants inquires, or those caused by

Defendants, as per (12 C.F.R. 1002.9(e) ). NonJas Carson Notified the range of possible score under

The credit model used by Defendants and their agents; nor were any written notice of the key

Factors that adversely affected Carson in the credit model used, nor the dates or person, Entity

That provided the credit score, or profile divulged. To further Their conspiracy, the Defendants

Actions, pursuant to (42 U.S.C 1985), have acted in concert to conceal their action, while admitting

Errors, yet refusing to sign any letter to the Credit Agencies to alleviate their actions.



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2).The Unequal treatment by Defendants to Carson and His Co-signer were axiomatic, since both,

Consumer's data were relevant, however, only Carson were considered. The damage caused by

Defendant's animus, caused or set into motion the following hard inquiries to Carson:

On 3/08/2108, Capital One Auto Finance, 3905 N. Dallas Parkway, Plano, TX. 75093;

Credit Acceptance 25505 W. 12 Mile Rd Ste. 3000 Southfield, Ml 48034; Steve Landers Kia,

4600 S. University Ave., Little Rock, AR 72204;

 On March 12, 2018, Defendants continued these Unauthorized hard inquires to Consumer-

Portfolio Services, 19500 Jamboree Rd., Irvine CA 92612; C. I. C. Experian Consumer SE.,

523 Anton BLVD Ste. 100, Costa Mesa, CA 92626; ESC/Right Offer Marketpl, 475 Anton Blvd,

Costa Mesa, CA 92626.

3). Defendant Steve Landers Kia, failed to Supervise, and ensure its Salesperson comply with

Federal Consumer laws; the Defendant failed to take corrective measures regarding the numerous

Hard credit inquires1once Steve Landers Kia was aware of Russell Comstock's unauthorized

Activities. The Defendants actions will subject Carson to much higher interest rates for any

Auto loans in the future, as well as other areas. i.e., " Housing, Credit cards etc.,". when Carson

Only sought the availability of financing from Capital One, as per His preapproval.



                                                  PRAYER:

WHEREFORE, PREMISES CONSIDERED, Plaintiff Pray that Declaratory Judgment be entered, that

The Defendants Violated Plaintiff's Rights; and Corrective Measures done to His Credit; Trial

By Jury, and $100,000 from each Defendants as Damages.

  (}4,.    ~
Arthur Carson

In Properia Persona



                                                     (4)
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                                                   VERIFICATION:



 I, Arthur Carson, Swear the foregoing statements are true and correct to the best of My knowledge,

Pursuant to 28 U.S.C. 1746.
                  ?-N              A9fl'l
Dated this, ').         D   day of Dlllif, 2018.

 K~
Arthur Carson

2000 Rice St
Little Rock, AR 72202
(501-508-1090)
email: artcarson67@gmail.com




                                                        (5)
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·ca;;;;;J'e·
                                                                                    Arthur
                                                                                    You are Pre-Approved for up
                                                                                    to $35,000 in auto financing!*
             001'045680'140'52202-2F'CP
             Arthur W. Carson
             2000 Rice St.                                                          • Call 1-800-685-9508 or visit
             Little Rock, AR 72202-6148                                                 www.capitalone.com/autopreapproval
             1hl l l ii 1l Ill1 11ll 11lll 11lh lilh lpl 111hl11ll lw 11 11 11111
                 1 11     1    1                                                    •   Personal Code: 296150050




             Dear Arthur,
             Great news! You've got the green light to purchase the vehicle you want with auto financing for up to
             $35;000 through Capital One®!

             For a limited time, we've teamed up with our dealer partner Steve Landers Kia to bring you this very
             exciting offer. You can use your offer on your next car, truck, or SUV and you can even choose a
             shorter or longer loan term to get a monthly payment that fits your budget.

             You can also choose from many makes and models of vehicles at our Pre-Approval Sale Event,
             Friday, 03/09/2018, through Saturday, 03/10/2018 at:

             DiAMOND<X>PARTNER

             Steve Landers Kia
             4600 S University Ave
             Little Rock, AR 72210
             501-492-5800 _,,                    ---
                                                    --                                             @
             mike.mckee@landerscorp.com
             Ask for Special Finance

             Confirm your status now by following the three simple steps below:

                        1. Call 1-800-685-9508 or visit www.capitalone.com/autopreapproval
                        2. Key in your Personal Code to confirm your offer: 296150050
                        3. Visit the dealership to shop for your next vehicle!

             Be sure to bring your most recent pay stub and a current phone bill when you visit the dealership.

             Hurry, your offer is valid through close of business on 04/07/2018!

             Sincerely,

             Capital One


                                           *See reverse for Important Disclosures regarding this offer


                 You can choose to stop receiving "prescreened" offers of credit from this and other companies
                 by calling toll free 1-888-5-0PT-OUT. See PRESCREEN & OPT.OUT NOTICE in IMPORTANT
DSL_N_1236                   DISCLOSURES on reverse for more information about prescreened offers.
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